Case 2:18-cv-00526-RWS-RSP Document 128 Filed 04/22/19 Page 1 of 1 PageID #: 5530



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

      SOL IP, LLC,                                §
                                                  §
           Plaintiff,                             §
                                                  §    Case No. 2:18-CV-00526-RWS-RSP
      v.                                          §
                                                  §
      AT&T MOBILITY LLC,                          §
                                                  §
           Defendant.                             §
  .                                               §

                                           ORDER

           Defendant AT&T Mobility LLC previously filed a Supplemental Brief in Support

  of its Objections to the Docket Control Order. (Dkt. No. 115.) Now before the Court is

  Plaintiff Sol IP, LLC’s Unopposed Motion for Leave to File Response to Defendant’s

  Supplemental Brief. (Dkt. No. 123.) The Court, having considered all the evidence before

  it, hereby GRANTS the Motion. IT IS THEREFORE ORDERED that Plaintiff is permitted

  to file a Response to Defendant AT&T Mobility LLC’s Supplemental Brief.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 19th day of April, 2019.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
